 

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 1 of 28

 

 

BUILDING AND SITE CONSTRUCTION AGREEMENT

between

MASSACHUSETTS LABORERS’ DISTRICT COUNCIL

of the

LABORERS’ INTERNATIONAL UNION OF NORTH AMERICA
AFL-CIO

and

THE LABOR RELATIONS DIVISION OF THE
ASSOCIATED GENERAL CONTRACTORS OF MASSACHUSETTS, INC.

and

BUILDING TRADES EMPLOYERS’ ASSOCIATION OF
BOSTON AND EASTERN MASSACHUSETTS, INC.

 

 

EFFECTIVE:
.TUNE 1, 2008 - MAY 31, 2012

 

 

 

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 2 of 28

AGREEl\/[ENT

This Agreement made and entered into this lst day of June, 2008 by and
between the LABOR RELATIONS DIVISION OF THE ASSOCIATED
GENERAL CONTRACTORS OF MASSACHUSETTS, INC., THE BUILDING
TRADES EMPLOYERS’ ASSOCIATION OF BOSTON AND EASTERN
MASSACHUSETTS, INC., corporations organized and existing under the laws of
the Cornmonwealth of Massachusetts, referred to hereinafter as the
“ASSOCIATIONS”, acting for and on behalf of and under the authority of their
members whose names appear on Schedules “I” & “II” attached hereto and any
other member joining said Associations during the term of this Agreement it is
authorized and has agreed to represent and such other Building Contractors who
execute an Acceptance of the terms and provisions of this Agreement hereinafter
referred to as the “EMPLOYER”, and the MASSACHUSETTS LABORERS’
DISTRICT COUNCIL, hereinafter referred to as the “UNIO ”, acting for and in
behalf of Local Unions No. 22 Boston, 39 Fitchburg, 88 Boston, 133 Quincy, 138
Norwood, 151 Cambridge, 175 Lawrence, 223 Boston, 243 Worcester, 385 New
Bedford, 429 Lowell, 560 Waltham, 609 Frarningham, 610 Fall River, 721
Brockton, 473 Pittsfield, 596 Holyoke, 999 Springfield and 876 Taunton,
Massachusetts, of the Laborers’ International Union of North America, each
hereinafter referred to as the “Local Union”.

PREAMBLE

This Agreement is entered into to facilitate the adjustment of grievances and
disputes between the Employers and employees; to provide, insofar as possible,
for the continuous employment of labor and to bring about stable conditions in the
industry, and to establish necessary procedure for the amicable adjustment of all
disputes which may arise between Ernployers and employees

DECLARATION OF PRINCIPLES

There shall be no discrimination against any Laborer by reason of race,
creed, color, sex, age or national origin. The Employer shall abide by the Federal
Williams-Steiger Occupational Safety and Health Act, the Environmental
Protection Act and the laws and regulations administered by the Massachusetts
Department of Environmental Quality Engineering pertaining to Asbestos
Removal.

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 3 of 28

ARTICLE I
TERRITORIAL JURISDICTION

This Agreement shall apply to the cities and towns within the Counties of
Barnstable, Bristol, Dukes, Essex, the Towns of North Orange and Warwick in
Franklin County, Middlesex, Nantucket, Norfolk, Plymouth, Suffolk and
Worcester in the Commonwealth of Massachusetts; the town of Salem in
Rockingham County, New Hampshire.

The Associations, on behalf of their members who have authorized them to
bargain on their behalf with the Union, further agree to abide by the so-called
Building and Site Agreements entered into by and between the General
Contractor’s Association of Pittsfield, Massachusetts and Local 473 (Pittsfield,
Mass.), and by and between the Construction Industry Association of Western
Massachusetts, Inc. and Local 596 (Holyoke, Mass.) and Local 999 (Springfield,
Mass.) whenever such employer performs or oversees work performed within the
territorial jurisdiction covered by the above-referenced Agreements and/or Local
Unions.

ARTICLE II
UNION RECOGNITION, UNION SECURITY
EMPLOYMENT OF LABORERS AND SUBCONTRACTORS

Section 1. The Employer hereby recognizes and acknowledges that the
Union is the exclusive representative of all employees in the classifications of
work covered by this Agreement for the purpose of collective bargaining as
provided by the Labor-Management Relations Act of 1947, as amended The
Employer will bargain in good faith with respect to renewal or extension of the
current or any subsequent collective bargaining agreement

Inasmuch as the Employer is satisfied that the Union represents a majority
of its employees in the bargaining unit described herein, the Employer recognizes
the Union as the exclusive bargaining agent under Section 9(a) of the National
Labor Relations Act for all employees within the bargaining unit on all present
and future job sites within the jurisdiction of the Union, unless and until such time
as the Union loses its status as the employees’ exclusive representative as the
result of an NLRB election requested by the employees The Employer agrees that
it will not request an NLRB election and expressly waives any right it may have to

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 4 of 28

H&W

Pension
Annuity

Nell-MCT

Unified Trust
Training

Legal

H&S

MCAP

Dues & LPL

Section 6.

Massachusetts Laborers’ Health and Welfare Fund
Article Xl

Massachusetts Laborers’ Pension Fund Article XIII
Massachusetts Laborers’ Annuity Fund Article XVI

New England Laborers’ Labor Management
Cooperation Trust Article XVII

Massachusetts Laborers’ Unified Trust Article XIX
New England Laborers’ Training Trust Fund Article XIV

Massachusetts Laborers’ Legal Services Fund
Article XV

New England Laborers’ Health and Safety Fund
Article XII

Massachusetts Construction Advancement Program
Article XVIII

Dues of ($.88) per hour and Laborers’ Political League
(LPL) ($.02) per hour, deducted from net wages after
taxes - Article VIII

a) Forty (40) hours shall constitute a week’s work for all Laborers; eight
(8) hours shall constitute a day’s work, from 8:00 AM to 12:00 Noon,
and between 12:30 PM and 4:30 PM, on Monday, Tuesday,
Wednesday, Thursday and Friday. Work performed on Sundays and
holidays requires a permit from the Union. If any work is to be
performed on Saturday, the Steward shall be notified In the event
that a particular operation may request permission to deviate from the
above hours, within the hours of 7:00 AM to 5:00 PM, such
permission may be granted by the Business Manager and may be
changed by mutual consent.

10

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 5 of 28

b) The Employer may, upon notification to the Local Union in whose
jurisdiction the project is located, work four (4) ten (10) hour days,
Monday through Thursday at straight time, provided that a fifth day,
if worked, shall be at least eight (8) hours long. Hours worked in
excess of forty (40) for the week or ten (10) hours per day shall be
paid for a time and one-half (1‘/2) the basic wage rate. In the event
there is lost time during the four (4) day work Week for any reason
beyond the Employer’s control, including inclement weather or
equipment breakdowns, then Friday may be worked as a make-up day
at straight time, provided that the work shall be performed between
the hours of 7 a.m. and 5:30 p.m.

Section 7. When two (2) or more shifts are worked, they shall continue for
at least three (3) consecutive regular workdays unless the Employer is prevented
from working such days or any portion thereof because of conditions beyond his
control, including Weather conditions

The first shift shall be of eight (8) hours, the second shift shall be of seven
and one-half (7‘/2) hours, and the third shift shall be of seven (7) hours and eight
(8) hours pay shall be paid for each shift.

When working on Saturdays, the first shift shall work eight (8) hours and
receive twelve (12) hours pay at the straight-time rate, the second shift shall work
seven and one-half (71/2) hours and receive twelve (12) hours pay at the straight-
time rate, and the third shift shall work seven (7) hours and receive twelve (12)
hours pay at the straight time rate.

When working on Sundays and holidays, the first shift shall work eight (8)
hours and receive sixteen (16) hours pay at the straight-time rate and the second
and third shifts shall work seven (7) hours each and receive sixteen (16) hours pay
at the straight-time rate. A shift which begins at or after 12 Midnight Sunday shall
be considered the third shift.

An employee Who actually works either seven (7) or seven and one-half
(7%) hours in accordance with the established shifts of this section, shall receive
fringe benefit fund contributions based upon a minimum of eight (8) hours

11

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 6 of 28

Section 8. All time worked before and after the established work day of
eight (8) hours, on Monday, Tuesday, Wednesday, Thursday, or Friday, and all
time worked on Saturdays, shall be paid for at the rate of time and one-half the
straight time rate. All time worked on Sundays and holidays specified in Article
IV shall be paid for at the rate of double the straight-time rate.

Section 9. During the morning and afternoon Working hours on each job,
at a time specified by the contractor, a coffee or refreshment period, not to exceed
five (5) minutes, shall be allowed. One or more Laborer employees designated by
the Job Superintendent or the Laborer Foreman shall obtain the coffee or
refreshments provided it is readily available at the job site for each employee at his
own expense

Section 10. In the alteration and repair of stores, industrial and commercial
maintenance work, where the work cannot be performed during the regular
working hours of 8:00 AM to 4:30 PM, this work shall be done under the Wages
covered by this Agreement with the shift premium for the first seven (7) hours
work and the regular premium set forth in this Agreement to be paid after the
seven (7) hours work, On Saturdays, Sundays and holidays, the premium set forth
in this Agreement shall prevail.

ARTICLE IV
HOLIDAYS

Section 1. Employees covered hereunder shall be entitled to observe the
following legal holidays enacted by Act of Legislation and shall be observed on
the date set by the Commonwealth of Massachusetts:

New Year’s Day Patriots’ Day
Washington ’s Birthday Independence Day
Mem orial Day Columbus Day
Labor Day Thanksgiving Day
Veterans ’ Day Christm as Day

Section 2. Any Employee who observes Martin Luther King, Jr. day shall
not be subject to discrimination or retaliation of any type.

12

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 7 of 28

Section 3. The legal holidays to be observed in New Hampshire are those
that are declared by an Act of the State Legislature.

Section 4. Employees who work on holidays listed above shall receive the
applicable overtime rate as provided in Article III, Section 8.

Section 5. In Salem, New Hampshire, within the jurisdiction of Local
Union 175, the fourth Monday in April, known as “Fast Day” shall be celebrated
as a holiday in place of Patriots’ Day, April 19th

ARTICLE V
BUSINESS MANAGER-FIELD REPRESENTATIVE
STEWARDS-FOREMEN

Section 1. The Business Manager or Field Representative of the Union
shall be allowed to visit the job during working hours

Section 2. A steward shall be furnished by the Union Representative of
the Local Union which has territorial jurisdiction in the area Where the job or
project is located The steward shall be allowed a reasonable amount of time to
check laborers’ dues books and report any violations of the Agreement to the
Union. The steward shall not be laid off unless he is the last Laborers on the job
other than the foreman who has been the foreman on the job and the Local Union
shall be notified forty-eight (48) hours prior to the layoff, excluding Saturdays,
Sundays and holidays The steward shall work on the job until the completion of
all work covered by the terms of this Agreement and shall be entitled to work all
overtime when work covered by this Agreement is being performed

The steward may be assigned to a Laborer subcontractor on the project with
the prior approval of the Business Manager, which shall not be unreasonably
withheld, so long as the general contractor or construction manager does not
employ Laborers on its payroll. However, the general contractor or construction
manager shall have the ultimate responsibility to make certain that a steward is
present when required by this Article. Said Steward shall be the only steward on
the proj ect.

The Employer shall give the Union at least forty-eight (48) hours written
notice, excluding Saturdays, Sundays and holidays, before discharging the steward

13

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 8 of 28

in all cases; however, no discharge is to take place without a prior conference
with the Union Representative within the time period specified above.

If either party does not attend the conference, his rights under this Section
are waived

In the event a layoff of employees is to occur, the steward shall be notified
as to the layoff no later than 3:30 p.m. on the date of the layoff. The Steward shall
be the first Laborer other than the foreman to be recalled after a temporary layoff
The Business Manager shall be notified to recall the Steward so that in case the
Steward is not available to return to the job, the Steward may be replaced

All stewards shall be working stewards

Section 3. Laborer foremen in charge of Laborers must be members of the
Union in good standing for a period not less than one (1) year and shall be covered
by all the terms of this Agreement and shall receive not less than one dollar
($1.00) per hour over the basic hourly rate paid to the Laborers under their
direction, and shall receive a guaranteed forty (40) hours pay per week.

For the purpose of directing Laborers, on all operations where seven (7) or
more Laborers are employed, a Laborer foreman shall be selected by the
Employer. The second Laborer foreman shall be supplied by the Local Union that
has the territorial jurisdiction in the area where the job is located and such
additional Laborer foremen shall be acceptable to the Employer. The third
Laborer foreman shall be selected by the Employer and the fourth by the Local
Union, and any additional foremen will be alternated as provided above.

The Laborer foreman shall not be compelled to work with the tools and
shall devote his or their attention to the direction of the work involved
ARTICLE VI
COVERAGE AND DESCRIPTION OF LABORERS’ WORK
Section 1. lt is agreed that Laborers’ work shall include but not be limited

to all work recognized by the Employer as outlined and described in Article XXIII
herein,

14

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 9 of 28

Section 2. Work assignments shall be made by the Employer in
accordance with present decisions and agreements of record and area practice.

In the event a jurisdictional dispute arises then, the disputing unions shall
request the other union or unions involved to send representatives to the job site to
meet with representatives of the Union and Employer to settle the dispute. lf
unanimous agreement is not reached at the meeting, the Union shall request that its
International Union assign a representative who shall make arrangements to meet
representatives of the other International Union or Unions involved and
representatives of the Employer on the job site to seek settlement of the dispute.
The Employer shall also request the lnternational Unions involved to assign
representatives to seek settlement of the dispute.

lf the above procedures, or any other mutually agreed upon procedure, fails
to resolve the problem, then the Employer at the request of the Union, agrees to
participate in a tripartite arbitration with all the disputing parties The impartial
umpire to hear the dispute can be mutually agreed upon by the parties, or
appointed by the American Arbitration Association.

Decisions rendered by any of the above procedures shall be final, binding
and conclusive on the Employer and the Union parties to this Agreement

There shall be no strikes, picketing or lockouts over any jurisdictional dispute.
Maintenance of Operations on Projects

To prevent jurisdictional disputes from arising on projects or over the
method of starting a project, Employers are directed to follow the procedures
outlined below.

Employer’s Responsibility

The Employer who has the responsibility for the performance and installation shall
make a specific assignment of the work which is included in its contract For
instance, if Employer A subcontracts certain work to Employer B, then Employer
B shall have the responsibility for making the specific assignment for the work
included in its contract. If Employer B in turn shall subcontract certain work to
Employer C, then Employer C shall have the responsibility for making the specific

15

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 10 of 28

assignment for the work included in its contract. The Employer shall not hold up
disputed work or shut down a project on account of a jurisdictional dispute.

Section 3. Jurisdictional Claims on the Laborers’ International Union of
North America shall extend over the divisions of the trade as set forth in Article
XXlll.

.S'ection 4. Any violation of this Article VI shall be processed as a
jurisdictional dispute.

ARTICLE VII
REPORTING TIME PAY

Section 1. After a person has been first hired and ordered to report to
work at the regular starting time and no work is provided for him on the day that
he is so ordered to report, he shall receive reporting time pay equivalent to two (2)
hours at the regular straight time hourly rate. If the person has been working
regularly, and the Employer has failed to notify him not to report for work before
leaving his residence, he shall be entitled to two (2) hours reporting time pay at the
regular straight time hourly rate, and this two (2) hour reporting time pay shall not
be subject to the weather provisions of Section 5 of this Article VII. To be eligible
for reporting time pay as provided herein, the employee must remain at the job site
and be available for work unless told by the Employer that he may leave.

Section 2. Employees shall furnish their Employer with current telephone
number or other contact at the start of each job, and advise the Employer of any
subsequent change or changes in such contact during the course of the j ob.

Section 3. Any employee who reports for work, and for whom work is
provided, regardless of the time he works, shall receive the equivalent of not less
than four (4) hours pay at the regular straight time hourly rate provided he is
available for work throughout such period

Section 4. Any employee who reports for work and who works four (4) or
more hours in any one (l) day shall receive the equivalent of not less than eight (8)
hours pay at the regular straight time hourly rate provided that he is available for
work until the end of that regular work day.

16

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 11 of 28

Section 5. It is expressly provided, however, that if the employee leaves
the job site without permission of the Employer, or when a person refuses to work
or continue to work, or when work stoppages brought about by a third party or
parties prevent or make ill-advised, in the opinion of the Employer, the
performance or continuance of work, or when weather makes work impractical,
payment for time not actually worked shall not be required

Section 6. Where notification of the men is required under this Agreement
to the effect that work shall not be performed on a particular day, notification of
such fact to the steward shall be sufficient notification to the men, provided the
steward is permitted enough time during working hours to notify the men.

ARTICLE VIII
CHECK OFF AND PAYROLL DEDUCTION

Section 1. The Employer agrees to deduct the sum of ninety cents ($.90)
per hour for each hour worked from the Weekly wages, after taxes, of each
employee, provided, such employee has executed voluntary written authorization
for such deductions to be allocated as follows:

a) Eighty-eight cents ($.88) shall be used as hourly
membership dues to support the Local Unions and the
Massachusetts Laborers’ District Council.

b) Two cents (S.OZ) of the amount provided in Section l shall
be used as a voluntary contribution payable to the Laborers’
Political League CLPL) to enable the Massachusetts
Laborers’ District Council and its affiliated Local Unions to
participate more fully in matters affecting the welfare of its
members

17

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 12 of 28

Section 2. A sample authorization for such deductions is as follows:

Deduction A uthorization

DUES DEDUCTION AUTHORIZATION

To all Employers by whom lam employed during the terms of the present or future Collective Bargaining Agreements either by
and between signatory Contraetor Associations and the Massachusetts Laborers’ District Council of the laboreis' lntemational
Union of North America, AFL-CIO and its Afiiliates, or by an Employer, not a member of said Associations, which has an
individual collective Bargaining Agreement with the Council and its affiliates

 

I, /
(Pn'nt Member Name) (Social Security Number)
oI`-Lccal-#_hereby~authorizemy_Employer-to_deduct.i`rom_my_wags_each_weck_cigbty=eightcents_($.88)_p eLhourjor

each hour worked, or the amount of dues specified in any future collective bargaining agreement covering my employment, all
of said amounts constitute what are known as the hourly deductions as part of my membership dues for said week owing by me
to the Union. Such deduction shall be made from my earned pay on each regularly-scheduled pay day and shall be remitted to
the designated depository at the same time and along with the Health & Welfare, Pension, Legal, Annuity, Training, New
England Laborers’ labor-Management Cooperation Trust, New England Laborers’ Health & Safety Fund and Massachusetts
Laborers’ Unif'led Trust contributions

'I'his authorization shall become operative upon the effective date of each Collective Bargaining Agreement entered into
between my Employer and the Union or upon the date that l execute this card, whichever is sooner. This authorization shall
remain in effect during the terms of the current and all future Collective Bargaining Agreements entered into between my
Employer and the Union unless it is specifically revoked in writing, bearing the date and my signature, and delivered to the
Oftices of the Loeal Union of which I am a member and to the Employer to whom I am currently employed

Signature:

 

Date:

LABORERS’ POLITICAL LEAGUE

'I`his is to certify that
l
(Print Member Name) (Social Secun`ty Number)

of local # has made a voluntary contribution of two cents (S.02) per hour for each hour worked to the
laborers’ Political League (LPL). Foreign nationals may not contribute Iunderstand that this voluntary payment is
not a condition of membership in the union and that the union cannot favor or disadvantage me because of the
amount of my contribution or my decision not to contribute LPL will use the money it receives to make political
expenditures and contributions in connection with federal, state and local elections While specific amounts may be
mentioned, these are merely suggestions, and you are free to contribute more or less than the suggestion

 

l hereby authorize my Employer to deduct from my wages each week, two cents ($.02) per hour for each hour
worked as a voluntary contribution to the Laborers’ Political League (LPL), which I understand constitutes a separate
segregated fund used for the purposes allowed under the Federal Election Campaign Act, 2 U.S,C. Sec. 44l(b). Such
authorization shall be remitted to the designated depository at the same time and along with the Health & Welfare,
Pension, Legal, Annuity, Training, New England Laborers’ Labor-Management Coopexation Trust, New England
Laborer’s Health & Safety Fund and Massachusetts Laborers’ Unified 'I`rust contributions

Any revocation of the above must be in writing, bear the date and my signature, and be delivered to the Ofiiccs of
the Local Union of which I am a member and to the Employer to whom l am then currently employed

Signature:

 

Date:

Any and all contributions to the Laborers’ Political league are not deductible as charitable contributions for federal income tax
purposes

18

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 13 of 28

Section 3. lt shall be the sole responsibility of the Union to procure,
pursuant to the provisions of Section 302(c) of the Labor-Management Relations
Act of 1947, as amended, the signed individual authorization of every employee
subject to this Agreement, both present and future. The Union shall indemnify and
hold harmless each Employer from any claim arising under this Article including
the furnishing of counsel to defend against any such actions

Section 4. Any Employer who fails to tile his reports and remit the
deductions when the same is due and payable shall be considered in violation of
this Agreement and subject to the penalties outlined in Article XX.

ARTICLE IX
CONDITIONS OF AGREEMENT

Section 1. On the first (lst) day of employment, laborers shall furnish the
documents required by Federal Law or regulation for I-9 and W-4 forms and their
OSHA 10 hour certification All wages due under this Agreement shall be paid on
the regular pay day designated by the Employer in lawiill U. S. currency, or check,
once each week during working hours, before 4:00 PM, Payment shall be made
showing employee’s name, hours worked, amount earned, social security
deduction, withholding tax, Employer’s name and address. Any Employer paying
wages to an employee by check shall do so during working hours, before 4:00 PM
on Monday, Tuesday, Wednesday, or Thursday. If the regular pay day falls on a
holiday that is not worked, the employee then shall be paid on the day before the
holiday in question. Also, any Employer paying wages to an employee by check
shall notify employees of a bank or other facility at which checks can be cashcd,
within reasonable proximity to the job site, without charge to the employee The
Employer shall withhold not more than three (3) days’ pay in any one week. If an
employee is discharged or laid off for any reason, his wages shall be paid in full
before 3:30 PM and he shall receive a full day’s pay for that day and he shall also
be given a lay-off slip if requested by the employee for unemployment insurance at
the time of the lay-off. If payment is not made expressly as provided herein, then
the employee who has been terminated shall be paid for all waiting time until paid;
waiting time to be paid at the regular eight (8) hour Straight time rate for each day
until paid. If any employee quits of his own accord, he shall receive wages for the
time he worked on the next regular pay day.

19

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 14 of 28

Section 2. Rain gear and slipover boots must be provided by the Employer
if men are ordered to work in rain, mud, concrete or snow. Men cannot be
terminated if they are unable to work because they are not furnished rain gear and
slipover boots. All tools, boots, hats and rain gear and other implements and
equipment, other than those customarily furnished by employees, necessary to the
performance of any of the work covered by this Agreement, shall be furnished by
the Employer and shall remain the property of the Employer when not in use or
upon leaving its employ. Each employee may be required to sign a receipt for
such equipment at the time he receives it, and he shall be liable for the cost of the
replacement of any equipment which is lost or otherwise not returned to the
Employer.

Section 3 Clothes Room The Employer shall provide a clean,
comfortable, heated shed or room, of suitable size for the Laborers to change their
clothes and partake their lunch. Such place shall not be used to store tools,
equipment or materials

Section 4. Drinking Water The Employer shall provide clean drinking
water with paper cups to each employee on the construction site, in accordance
with applicable F ederal and State Laws. The water shall be changed once in the
morning and once in the afternoon.

Section 5. Toilets Clean, sanitary toilets shall be provided for the
employees’ use in accordance with applicable Federal and State Laws.

Section 6. Telephone A phone shall be made available on the job site for
the employees’ use in case of emergency, if telephone service is available
The use of personal cell phones, Ipods, radios, Blackberrys and other similar
electronic devices is strictly prohibited at the site of construction projects during
working hours.

Section 7. Lost Time Because of Accidents There shall be no lost time on
the day of a minor injury for the employee obliged to receive medical attention and
treatment, provided he returns to work within a reasonable time on that day.
Employees seriously injured on the job who have to obtain medical treatment,
shall not be required to work on the day of the injury to receive payment of wages
for that day. The injured employee or steward will notify the Employer on the
date of the injury of any injury which occurs on the job and shall furnish the name

20

 

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 15 of 28

and address of the physician consulted for medical attention as provided herein.
When an employee is seriously injured on the job, the steward or the foreman shall
be permitted to notify the Union of the injury.

Any apprentice assigned to any employer shall first be required to complete
a ten (10) hour safety program provided by the New England Laborers’ Training
Trust Fund. The Employer and the Union shall further cooperate in scheduling the
training of all employees covered by this agreement

Sectz'on 8. Quitting Time Each employee shall be given sufficient time at
the end of the day to put away his tools and be at the clothes room or change shack
at quitting time.

Section 9. Travel and Subsistence

(a) When Laborers are employed on the Islands, two (2) hours per day
traveling time shall be paid at single time rate, when an eight (8) hour day is
actually worked, if required to travel by boat.

(b) When Laborers are employed on Martha’s Vineyard, Nantucket,
Nomans and Elizabeth lslands, the Employer agrees to pay room and board
expenses if it becomes necessary for the men to stay overnight

ARTICLE X
MASSACHUSETTS LABORERS’ HEALTH and WELFARE FUND

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Laborers’ Health & Welfare Fund Agreement and Declaration of
Trust and any amendments thereto and ratifies and approves all actions of the
Trustees within the scope of said Agreement

Section 2. Contrz`butions to Fund Each Employer agrees to pay the sum
reflected in Appendix A of this Agreement, per hour for each hour worked by each
employee, covered by the terms of this Agreement, to the Massachusetts Laborers’
Health and Welfare Fund. Said sum will be paid into said Fund not later than the
twentieth (ZOth) day of each and every month for hours worked by said employees
up to the end of the last complete payroll of the preceding calendar month. The
said Fund will be administered by a Board of Trustees selected and appointed
under the provisions of the Trust Agreement executed by the Union and the

21

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 16 of 28

Employers. Said Trust Agreement shall conform to the Labor-Management
Relations Act of 1947, as amended, and all other applicable laws and regulations
of the United States, the Commonwealth of Massachusetts and the State of New
Hampshire. The said Fund will be used to purchase accident and sickness
disability insurance and hospitalization, medical and surgical benefits and/or other
welfare benefits of a similar nature for the said employees as provided in the said
Trust Agreement

The Union reserves the right to remove the employees whose wages, hours
and working conditions as set forth in this Agreement from any job for which the
Employer has failed to remit to the aforementioned Health and Welfare Fund
monies due to the Fund within the time for payment thereof, as determined by the
Board of Trustees acting under the authority of the Agreement and Declaration of
Trust under which the Fund operates

The failure to contribute by the Employer to the said Health and Welfare
Fund, as provided herein, for the purpose of the remedy the Union may pursue, is
covered in Article XX herein, The Massachusetts Laborers’ Health and Welfare
Fund shall meet the requirements of all Federal and State Laws regarding the
same, including the Internal Revenue Service.

Section 3. New Federal Health Insurance Law In the event that a new
federal health insurance law becomes effective during the term of this Agreement,
the parties agree to meet and reopen the contract to make any changes necessitated
by the law and to negotiate other provisions as may be appropriate In the event
the parties are unable to agree upon the changes required by law or other
appropriate changes, the matter may proceed to final and binding arbitration
pursuant to Article XXVI at the request of either party; provided that the
Arbitrator shall not be permitted to increase the cost to the Employer.

ARTICLE XI
NEW ENGLAND LABORERS’ HEALTH and SAFETY FUND

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Laborers’ Health & Safety Fund Agreement and Declaration of
Trust and any amendments thereto and ratifies and approves all actions of the
Trustees within the scope of said Agreement

22

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 17 of 28

Section 2. Each Employer agrees to pay the sum reflected in Appendix A of
this Agreement, per hour for each hour worked by each employee covered by the
terms of this Agreement to the New England Laborers’ Health and Safety Fund.

Section 3. Said sum shall be paid into the Fund no later than the twentieth
(20th) day of each and every month for hours worked by said employees up to the
end of the last complete payroll period of the preceding calendar month. The Fund
will be administered by a Board of Trustees selected under and subject to the
provisions of a Trust Agreement and Plan entered into by the Union and the
Employers.

Section 4. The Plan and Trust shall conform to the Labor-Management
Relations Act of 1947, as amended, and all other applicable laws and regulations
of the United States and states where this Agreement applies. The Trust and Plan
at all times shall be a “qualified” Trust and Plan as defined by Sec. 401 of the
Internal Revenue Code. The Plan and Trust shall be created and administered,
subject to modification, change of methods or administration and practices as may
be required to the end that at all times contributions by the Employers to the Fund
shall be deductible as an ordinary expense of doing business in the computation of
Federal Income Tax of the Employers

Section 5. The failure to contribute by the Employer to the said Health and
Safety Fund, as provided herein, for the purpose of remedy the Union may pursue,
as covered in Article XX herein. The New England Laborers’ Health and Safety
Fund shall meet the requirements of all Federal and State Laws regarding the
same, including the Internal Revenue Service.

ARTICLE XII
MASSACHUSETTS LABORERS’ PENSION FUND

Each Employer subscribes to and agrees to be bound by the Massachusetts
Laborers’ Pension Fund Agreement and Declaration of Trust and any amendments
thereto and ratifies and approves all actions of the Trustees within the scope of
said Agreement.

Each Employer agrees to pay the sum reflected in Appendix A of this
Agreement, per hour for each hour worked by each employee, covered by the
terms of this Agreement to the Massachusetts Laborers’ Pension Fund. Said sum
will be paid into said Fund not later than the twentieth (ZOth) day of each and

23

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 18 of 28

every month for hours worked by said employees up to the end of the last
complete payroll period of the preceding calendar month. The Fund will be
administered by a Board of Trustees selected under, and subject to the provisions
of a Trust Agreement and Plan entered into by the Union and the Employers The
Plan and the Trust shall conform to the Labor-Management Relations Act of 1947,
as amended, and all other applicable laws and regulations of the United States, the
Commonwealth of Massachusetts and the State of New Hampshire.

The Trust and Plan at all times shall be a “qualified” Trust and Plan, as
defined by Section 401 of the Internal Revenue Code. The Plan and the Trust
shall be created and administered, subject to modification, change of methods of
administration and practices as may be required, to the end that at all times
contributions by the Employers to the Fund shall be deductible as an ordinary
expense of doing business in the computation of Federal Income Tax of the
Employers

The failure to contribute by the Employer to the said Pension Fund, as
provided herein, for the purpose of the remedy the Union may pursue is covered in
Article XX herein, The Massachusetts Laborers’ Pension Fund shall meet the
requirements of all Federal and State Laws regarding the same, including the
Internal Revenue Service.

ARTICLE XIII
NEW ENGLAND LABORERS’ TRAINING rI`RUST FUND

Each Employer subscribes to and agrees to be bound by the Massachusetts
Laborers’ Training Trust Fund Agreement and Declaration of Trust and any
amendments thereto and ratifies and approves all actions of the Trustees within the
scope of said Agreement,

Each Employer agrees to pay the sum reflected in Appendix A of this
Agreement, per hour for each hour worked by each employee covered by the terms
of this Agreement, to a Training Fund known as New England Laborers’ Training
Trust Fund. Said sum will be paid into said Fund not later than the twentieth
(20th) day of each and every month for hours worked by said employees up to the
end of the last complete payroll period of the preceding calendar month. The Fund
will be administered by a Board of Trustees selected under, and subject to the
provisions of a Trust Agreement and Plan entered into by the Union and the
Employers The Plan and Trust shall conform to the Labor-Management

24

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 19 of 28

Relations Act of 1947, as amended, and all other applicable laws and regulations
of the United States and the Commonwealth of Massachusetts and the State of
New Hampshire. The Trust and Plan at all times shall be a “qualified” Trust and
Plan as defined by Section 401 of the Internal Revenue Code. The Plan and Trust
shall be created and administered, subject to modification, change of methods or
administration and practices as may be required to the end that at all times
contributions by the Employers to the Fund shall be deductible as an ordinary
expense of doing business in the computation of Federal Income Tax of the
Employers.

The failure to contribute by the Employer to the said Training Fund as
provided herein, for the purpose of the remedy the Union may pursue, is covered
in Article XX, herein. The New England Laborers’ Training Trust Fund shall
meet the requirements of all Federal and State Laws regarding the same, including
the lnternal Revenue Service.

ARTICLE XIV
MASSACHUSETTS LABORERS’ LEGAL SERVICES FUND

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Laborers’ Legal Services Fund Agreement and Declaration of Trust
and any amendments thereto and ratifies and approves all actions of the Trustees
within the scope of said Agreement

Section 2. Each Employer agrees to pay the sum reflected in Appendix A
of this Agreement, per hour for each hour worked by each employee, covered by
this Agreement to the Massachusetts Laborers’ Legal Services Fund. Said
contributions will be paid into such Fund not later than the twentieth (20th) day of
each and every month for the hours worked by said employees up to the end of the
last completed payroll period of the preceding calendar month. The failure to
contribute to this Fund by the Employer as provided herein shall be subject to the
provisions of Article XX hereof The Massachusetts Laborers’ Legal Services
Fund shall meet the requirements of all Federal and State Laws regarding the
same, including the Internal Revenue Service.

25

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 20 of 28

ARTICLE XV
MASSACHUSETTS LABORERS’ ANNUI'I`Y FUND

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Laborers’ Annuity Fund Agreement and Declaration of Trust and
any amendments thereto and ratifies and approves all actions of the Trustees
within the scope of said Trust Agreement,

Section 2. Each Employer agrees to pay for each hour worked by each
employee, covered by this Agreement, to the Massachusetts Laborers’ Annuity
Fund, the negotiated contribution in each respective zone and any future allocated
increase during the term of this agreement (reflected in Appendix A of this
Agreement). Said sums will be paid into said Fund not later than the twentieth
(20th) day of each and every month for hours worked by said employees up to the
end of the last complete payroll of the preceding calendar month. Payment shall
be made in one check and on the same form furnished by the Massachusetts
Laborers’ Benefit Funds. The said Fund will be administered by a Board of
Trustees selected and appointed under the provisions of the Trust Agreement
executed by the Union and the Employers. Said Trust Agreement shall conform to
the Labor~Management Relations Act of 1947, as amended, and all other
applicable laws and regulations of the United States, the Commonwealth of
Massachusetts and the State of New Hampshire.

Sectz’on 3. Members of the Association and Employers subscribing to the
Trust Agreement, when working outside the jurisdictional area of this Agreement
in areas where they have no contractual obligation to contribute to an annuity
fund, shall contribute the same amount in the same manner as set forth above to
the “Massachusetts Laborers’ Annuity Fund” for each Laborer when said Laborer
is sent and put to work by the Employer from the territorial jurisdiction set forth in
Article I.

Section 4. Failure to contribute to the Fund shall be a violation of this
Agreement The Union and the Employer mutually recognize the requirement that
contributions to this Fund be made on a current basis by all Employers who have
made one or more contributions to the Fund or have entered into an agreement
with the Union requiring such contributions

Section 5. The Fund shall be used to provide benefits as determined by
the Trustees in accordance with the terms of the Trust. The failure to contribute

26

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 21 of 28

by the Employer to the said Annuity Fund, as provided herein, for the purpose of
the remedy the Union may pursue, is covered in Article XX herein. The
Massachusetts Laborers’ Annuity Fund shall meet the requirements of all F ederal
and State Laws regarding the same, including the Internal Revenue Service.

ARTICLE XVI
NEW ENGLAND LABORERS’ LABOR-MANAGEN[ENT COOPERATION
TRUST

Section 1. Each Employer subscribes to and agrees to be bound by the New
England Laborers’ Labor-Management Cooperation Trust Agreement and
Declaration of Trust and any amendments thereto and ratifies and approves all
actions of the Trustees within the scope of said Agreement,

Section 2. Each Employer agrees to pay the sum reflected in Appendix A of
this Agreement, per hour for each hour worked by an employee covered by this
Agreement to the New England Laborers’ Labor-Management Cooperation Trust
Fund.

Section 3. Said sum will be paid into said Fund not later than the
twentieth (20th) day of each month for hours worked by said employees up to the
end of the last complete payroll period of the preceding calendar month. The Fund
will be administered by a Board of Trustees selected under, and subject to the
provisions of a Trust Agreement and Plan entered into by the Union and the
Employer and others.

Section 4. The Plan and Trust conform to the Labor-Management
Relations Act of 1947, as amended, and all other applicable laws and regulations
of the United States and the Commonwealth of Massachusetts The Trust and the
Plan at all times shall be a “qualified” Trust and Plan, as defined by Section 401 of
the Internal Revenue Code. The Plan and Trust shall be created and administered,
subject to modification, change of methods of administration and practices as may
be required to, the end that at all times contributions by the Employers to the Fund
shall be deductible as an ordinary and necessary expense of doing business in the
computation of Federal Income Tax of the Employers.

27

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 22 of 28

Section 5. The failure to contribute by the Employer to the said New
England Laborers’ Labor~Management Cooperation Trust Fund, as provided
herein, for the purpose of the remedy the union may pursue, is covered in Article
XX herein.

ARTICLE XVII
MASSACHUSETTS CONSTRUCTION ADVANCEMENT PROGRAM

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Construction Advancement Program Agreement and Declaration of
Trust and any amendments thereto and ratifies and approves all actions of the
Trustees within the scope of said Agreement,

Section 2. This Trust, known as the Massachusetts Construction
Advancement Program, shall be referred to in this Article as “the Fund”. The
Fund shall be administered solely and exclusively by Trustees appointed pursuant
to the provisions of the Trust instrument.

Section 3. Each Employer agrees to pay the sum reflected in Appendix A of
this Agreement, per hour for each hour worked by each of its employees, covered
by this Agreement, to the Massachusetts Construction Advancement Program.

Sectz'on 4. The Fund will be used by its Trustees for the following express
purposes: A. Manpower Recruitment and Training; B. Education; C. Safety
and Accident Prevention; D. Public Relations; E. Equal Employment; F.
Intra-Industry Relations; G. Market Development; H. Market Research; and I.
Inforrnation Services within the construction industry for the mutual benefit of
Employers and their employees

Section 5. The Fund shall not be used for any of the following expressly
prohibited purposes: A. Lobbying in support of anti-Union legislation; B.
Supporting litigation before a court or any administrative body against the Union
or any of its agents; and C. Subsidizing contractors during a period or periods of
work stoppages or strikes.

Section 6. As a part of the administration of the Fund, there shall be an

annual audit of the Fund by an independent certified public accountant A copy of
the audit shall be made available to all parties signatory hereto.

28

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 23 of 28

Section 7. In the event that the Union has reasonable cause to believe that
the Fund is being used for any of the purposes prohibited by Section 5, the dispute
shall be subject to the arbitration provisions of this Agreement.

ARTICLE XVIII
MASSACHUSETTS LABORERS’ UNIFIED TRUST

Section 1. Each Employer subscribes to and agrees to be bound by the
Massachusetts Laborers’ Unified Trust Agreement and Declaration of Trust and
any amendments thereto and ratifies and approves all actions of the Trustees
within the scope of said Agreement

Section 2.' Each Employer agrees to pay the sum reflected in Appendix A
in this Agreement, per hour Worked by each employee covered by the terms of this
Agreement to a fund known as the “Massachusetts Laborers’ Unified Trust”.

Section 3.' Said sums will be paid into said Fund not later than the
twentieth (20th) day of each and every month for hours worked by said employees
up to the end of the last complete payroll period of the preceding calendar month.
The Fund will be administered by a board of Trustees selected under, and subject
to the provisions of a Trust Agreement and plan entered into by the Union and the
Employers. The plan and trust shall conform to the Labor-Management Relations
Act of 1947, as amended, and all other applicable laws and regulations of the
United States and the Commonwealth of Massachusetts The trust and plan at all
times shall be an exempt trust and plan, as defined by Section 401 of the Internal
Revenue Code. The plan and trust shall be created and administered, subject to
modification, change of methods of administration and practices as may be
required, to the end that at all times contributions by the Employers to the Fund
shall be deductible as an ordinary expense of doing business in the computation of
federal income tax of the Employers.

Section 4: There shall be a total of four (4) Trustees to constitute the
Board of Trustees to administer the Fund. Said Trustees to be appointed as
follows: two (2) Trustees shall be appointed by the Massachusetts Laborers’
District Council and two (2) Trustees shall be appointed by the Association. The
representatives on the Board of Trustees shall at all times be equally divided
among Union and Management. Each of the appointing parties shall have the
power to remove, replace and appoint successors as Trustees appointed by them.

29

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 24 of 28

Section 5: The failure to contribute by the Employer to the said Unified
Trust, as provided herein, for the purpose of the remedy the Union may pursue, is
covered in Article XX herein. The Massachusetts Laborers’ Unified Trust shall
meet the requirements of all Federal and State Laws regarding the same, including
the Internal Revenue Service.

ARTICLE XlX
DELINOUENT PAYMENTS

Section l. Employers who are delinquent in their payments to the
Massachusetts Health & Welfare, Pension, Legal Services, Annuity, Unified Trust,
New England Laborers’ Labor-Management Cooperation Trust, Training Trust
and Health & Safety Funds shall not have the privilege of employing Laborers
under the terms of this Agreement if such payments have not been made after
written notice, sent by registered mail, return receipt requested, of such
delinquency is given by the Union and seventy-two (72) hours have elapsed since
such notice. All employees affected by such delinquency to any of the above-
mentioned Funds, and who have lost work as a result thereof, shall be paid their
normal wages by the delinquent Employer, until said delinquency is cured and the
employees resume their work.

Once an Employer has been adjudged a delinquent by any of the above-
mentioned Fund Trustees, he shall, in addition to remitting to the Funds for his
past delinquencies, be required to make his current payments on a weekly basis
and further furnish a fifty thousand ($50,000) surety bond to the Trustees of each
respect Fund as listed above. All attorney’s fees, sheriffs costs, accounting and
court costs involved to collect delinquent payments from the delinquent Employer,
or to obtain an audit from an Employer who has refused to permit one, must be
borne fully by the Employer involved.

Section 2. In accordance with Section 5.02(g)(2) of ERISA, as amended,
the Trustees do establish the rate of interest to be paid by Employers on delinquent
contributions to be ten percent 10% and further, liquidated damages shall be
assessed in an amount of twenty percent (20%) of the amount of the delinquency,
or such higher percentage as may be permitted under Federal or State Law, plus
reasonable attorney’s fees and costs of the action.

30

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 25 of 28

Section 3. If an audit by the Trustees or their representative determines that
an Employer has not correctly reported the hours worked by his Laborers, the
Employer, in addition to other remedies provided in the Trust Agreement, shall be
liable to the Funds for the cost of auditing his payroll records, interest at the rate
stated in Section 2 above from the date when payment was due to the date when
payment was made, attorney’s fees and liquidated damages in the amount of
twenty percent (20%) of the delinquent amount.

Secton 4. The parties agree that the Trustees of the Delinquency Comrnittee
shall have the right to terminate the collective bargaining agreement of any
Employer deemed by them to be habitually delinquent

ARTICLE XX
SEVERAL LIABILITY

Section 1. The obligation of each Employer member of the Associations
shall be several and not joint. This Agreement shall be binding upon each
Employer signatory hereto and its successors and assigns, and no provisions
contained or incorporated herein shall be nullified or affected in any manner as a
result of any consolidations, sale, transfer, assignment, or any combination or
other disposition of the Employer.

Section 2. The Massachusetts Laborers’ District Council, a party to this
Agreement, shall not be held responsible for any unauthorized act committed by
any affiliated Local Union or members thereof, unless the said Massachusetts
Laborers’ District Council has ordered or ratified the same or condoned such act
after notice thereof from either of the Associations. The Massachusetts Laborers’
District Council agrees that upon the receipt of notice from either Association,
parties to this Agreement, of any unauthorized act by a Local Union, it will
exercise all of its authority to correct the same and iiirnish evidence thereof to the
Association.

Section 3. The obligation of each Local Union, affiliated with the
Massachusetts Laborers’ District Council, shall be several and not joint.

Section 4. The Labor Relations Division of the Associated General

Contractors of Massachusetts, Inc. and the Building Trades Employers’
Association of Boston and Eastern Massachusetts, Inc. shall not be responsible for

31

 

Case 1:11-cV-1O815-GAO Document 1-2 Filed 05/09/11 Page 26 of 28

ARTICLE XXX
TERl\/IINATION OF AGREEMENT

This Agreement will expire on May 31, 2012, except that if neither party to
this Agreement gives notice in writing to the other party on or before March 31,
2012 that it desires a change after May 31, 2012, then this Agreement will
continue in effect until May 31, 2013 and so on each year thereafter unless on or
before March 3 lst of each year thereafter, a notice is given by either party.

LABOR RELA TIONS DIWSON OF THE ASSOCM TED GENERAL CONTRA CTORS OF
MASSA CHUSETTS

%W /%,a/% 9 ama am

Chairman, Board of Trustees Date:

AMSSA CHUSETTS LABORERS ' DISTRICT COUNCIL of the Laborers’ Intemational
Union of North America on behalf of its affiliates

Qw i<iii:""

Business Ma)iager, Paul J. McNally

/é/Q€/@<§

Date: Date:

  

esident, J'ames V. Merlon'

3/¢*’1/0 0

    

T he Building Trades Employers’ Assoc.
of Boston & E. Mass., Inc.

   

T omas Gu ning, ' irector Date:

 

 

Armand E S/ i om, '\Gene al Secretary-Treasurer and
New England Regional Manager

Date: jul [q_O<l

51

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 27 of 28

APPENDIX A
WAGE RATES AND CLASSIFICATIONS

Section 1. Zone 1 and Zone 2 - Wage Rates and Benefit Allocations

ZONE 1

|NCREASE
Wages

H & W
Penslon
Annuity
Nel|-MCT
Unified Trust
Training
Legal

H & Safety
MCAP/BTEA

Total
*Dues &
LPL

F|aggers

SUFFOLK COUNTY (Boston, Che|sea, Revere, Winthrop, Deer & Nut ls|ands

M|DDLESEX COUNTY ( Ar|ingtonl Belmont, Burlington,Cambridge, Everett, Ma|den, Medford,
Me|rose, Newtonl Reading, Somervil|e, Stoneham, Wakefie|d, Waltham,

Watertown,

Winchester, Winthrop, and Woburn only)

NORFOLK COUNTY ( Braintree, Brook|ine, Dedham, Milton, Qulncy and Weymouth only)
6/1/200 12/1/200 6/1/200 12/1/200 6/1/201 12/1/201 6/1/201 12/1/201

8 8 9 9 0 0 1 1
'1.25 1.00 1.00 1.00 1.00 1.25 1.00 1.25
27‘75 ** *'k ** ** 'k* ** *ir
6.60 *"'
4.35
5.40
0.15
0.50
0.45
0.20
0.15
0.05
45.60 46.60 47.60 48.60 51 .85 53.10

49.60 50.85

(-.90)
18.50

(-.90)
18.50

(~.90)
18.50

(--90)
18.50

(-.90)
19.50

(--90)
19.50

(--90)
20.50

(--90)
20.50

* |ne|udes May 31, 2008 increase of $.50

Dues and LPL are deducted ji'om wages

58

Case 1:11-cV-10815-GAO Document 1-2 Filed 05/09/11 Page 28 of 28

ZONE 2

|NCREASE
Wages

H & W
Pension
Annuity
Ne||-MCT
Unified Trust
Training
Lega|

H & Safety
MCAP/BTEA

Tota|
*Dues & LPL
Fiaggers

The Couniies of BARNSTABLE, BR|STOL, DUKES, ESSEX,
NANTUCKET,

PLYMOUTH, and WORCESTER
MlDD|_ESEX COUNTY ( with the exception of Ar|ington, Belmont, Burlington,Cambridge, Everett,
Malden,Medford, Me|rose, Newton, Reading, Somervi||e, Stoneham, Wakefleid, Waltham,

Watertown, Winchester, Winthrop, Woburn)
NORFOLK COUNTY (with the exception of Braintree, Brook|ine, Dedham, Mi|ton,

6/1/2008
*1.25
25.80

6.60
4.35
4.00
0.15
0.50
0.45
0.20
0.15
0.05
42.25
(-.90)

Quincy and Weymouth)
FRAN KL|N COUNTY ( Warwick, and Orange only)
12/1/2008 6/1/2009 12/1/2009 6/1/2010 12/1/2010 6/1/2011
1.00 1.00 1.00 1.00 1.25 1.00
‘k* ** *'k ** ** **
43.25 44.25 45.25 46.25 47.50 48.50
(-.90) (-.90) (-.90) (».90) (-.90) (-.90)
1 8.50 18.50 18.50 19.50 19.50 20.50

18.50

12/1/2011

1.25

**

49.75
(-.90)
20.50

*THE COUNCIL RESERVES THE RIGHT TO ALLOCATE THESE ]NCREASES IN I'I`S
DISCR.ETION AMONG WAGES, FRINGE BENEFITS AND DUES DEDUCTION.

Section 2. Watchmen Wage Rates and Benefit Allocation

lNCREASE
Wages

H & W
Pension
Annuity
Ne||-MCT
Unified Trust
Training
Legal

H & Safety
MCAP/BTEA
Total

*Dues & LPL

6/1/03
*1.25
21 .ao
6.60
4.35
5.40
0.15
0.50
0.45
0.20
0.15
0.05
45.60
(-.90)

12/1/08 6/1/09 12/1/09 6/1/10 12/1/10 eli/11
1.00 1.00 1.00 1.00 1.25 1.00
** ** ** ** ** **

**
46.60 41.60 48.60 49.60 50.85 51.35
(-.90) (-.90) (-.90) (-.90) (-.90) (-.90)

* lncludes May 31, 2008 increase of $.50

Dues and LPL are deducted from wages

59

12/1/11
1.25

**

53.10
(-.90)

